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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-79 (BAH)
v.
KEVIN JAMES LYONS, : VIOLATIONS:
: 18U.S.C. § 1752(a)(1)
Defendant. : (Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(C)

(Entering and Remaining in Certain
Rooms in the Capitol Building)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol
Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing
in a Capitol Building)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding
and Aiding and Abetting Obstruction of
an Official Proceeding)

INDICTMENT

The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, KEVIN JAMES LYONS,
did knowingly enter and remain in the United States Capitol, a restricted building, without lawful
authority to do so.

(Entering and Remaining in a Restricted Building, in violation of Title 18, United
States Code, Section 1752(a)(1))
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COUNT TWO

On or about January 6, 2021, within the District of Columbia, KEVIN JAMES LYONS,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, KEVIN JAMES LYONS,
willfully and knowingly, and with the intent to disrupt the orderly conduct of official business,
entered and remained in a room in any of the Capitol Buildings set aside and designated for the
use of either House of Congress and a Member, committee, officer, and employee of Congress,
and either House of Congress, and the Library of Congress, without authorization to do so.

(Entering and Remaining in Certain Rooms in the Capito] Building, in violation of
Title 40, United States Codé, Section 5104(e)(2)(C))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, KEVIN JAMES LYONS,
willfully and knowingly engaged in disorderly and disruptive conduct at any place in the Grounds
and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly
conduct of a session of Congress or either House of Congress.

(Disorderly Conduct at the Grounds and in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(D))
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COUNT FIVE

On or about January 6, 2021, within the District of Columbia, KEVIN JAMES LYONS,
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

COUNT SIX
On or about January 6, 2021, within the District of Columbia and elsewhere, KEVIN
JAMES LYONS, attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

A TRUE BILL:

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Attorney of the United States in
and for the District of Columbia.
